Case 2:05-cr-20250-.]PI\/| Document 31 Filed 07/21/05 Page 1 of 2 Page|D 32

IN THE UNITED sTATEs DISTRICT CoURTF,LE@ g joan E;,_C_
FoR THE WESTERN I)ISTRICT oF TENNESSEE
WESTERN DIVISIoN 95 JUL 21 AH 9: 57

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UNITED STATES OF AMERICA W/D iii st :'.‘:':anHlS
v.
No. 05-20250-03-Ml
ERICA MILLER

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that she is unable to obtain private
counsel and requested appointment of counsel The defendant qualified for appointed

counsel and the Court appointed counsel from the panel pursuant to the Criminal Justice

 

Act.
lt is therefore ORDERED that the time period of Julv 20, 2005
through July 26, 2005 be excluded from the time its imposed by the Speedy

Trial Act for trial of this case, in order to have counsel present

ARRAIGNMENT IS RESET TO Wednesda Jul 27 2005 AT 10:00 A.M.

 

BEFORE MAGISTRATE JUDGE Vescovo .

This _L.#d`ay of W .2005.
§ /
/dlcu/u.\e, K. %@&’Z/V

UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet ln compliance
with Hu|e 55 and/or 32(b) FRCrF' on ` "

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

